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                                                               August 21, 2020

     VIA ECF
     Hon. Zahid N. Quraishi, U.S.M.J.
     Clarkson S. Fisher Federal Building
      and U.S. Courthouse
     402 E. State Street
     Trenton, New Jersey 08608

                Re:         UMG Recordings, Inc. et al. v. RCN Telecom Services, LLC et al.
                            Civil Action No. 19-17272 (MAS) (ZNQ)

     Dear Judge Quraishi:

             This firm, along with our co-counsel Stein Mitchell Beato & Missner LLP, represents
     Plaintiffs in the referenced matter. We write in reply to Defendants’ August 14, 2020 letter (Dkt.
     No. 86), which addressed Plaintiffs’ letter of July 31, 2020 (Dkt. No. 80) concerning Defendants’
     Objections and Responses to Plaintiffs’ First Set of Requests for Production (“RFPs”).

             On August 5, 2020, between the date of Plaintiffs’ initial letter and the date of
     Defendants’ response, the Court issued a Letter Order (Dkt. No. 83) (“Order”) that overruled
     Defendants’ objections to Plaintiffs’ Interrogatories. Those objections mirror some of
     Defendants’ RFP objections at issue here, and the Court’s reasoning in its Order applies with
     equal force to the present disputes.
             Recognizing that the Court’s Order moots some of their RFP objections, Defendants now
     seek reconsideration of the Court’s Order and try to distinguish the present disputes from those
     already ruled on by the Court. Defendants’ offer no new arguments or authority that would
     justify this Court reversing its prior rulings. Plaintiffs respectfully request that the Court
     overrule Defendants’ RFP objections as set forth in our original letter.

           1. There Is No Sound Basis for Reversing This Court’s Ruling That Pre-2016
              Infringement Evidence Is Discoverable.

            Despite the Court’s ruling that pre-2016 evidence is discoverable, Defendants persist in
     refusing to produce documents from before “the period of 2016 to present.”1 The Court
     considered and rejected such a limitation in the context of Plaintiffs’ Interrogatories for two

     1
         See Plfs’ Ltr, Dkt. 80, at 1-3.

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independent reasons. First, the Court concluded that “the pre-2016 instances of copyright
infringement may be actionable under the discovery rule.” Order at 2.2 Second, the Court
recognized that, even if not independently actionable, evidence of pre-2016 infringement and
RCN’s handling of it “may bear on Defendants’ knowledge of infringement by RCN’s
subscribers, the benefit they derived from infringing subscribers, and their capabilities in
responding.” Id. at 2.

       The exact same rationale applies to Plaintiffs’ RFPs. The documents that Plaintiffs
seek—concerning copyright infringement allegations and notices before 2016 and how
Defendants handled them—are relevant both as evidence of potentially actionable infringement
and independently as probative of Defendants’ knowledge of infringement, capabilities to
respond to infringement, willfulness in allowing repeat infringers to continue to use their
network, and other issues central to this case.

        Defendants suggest that pre-2016 information is not relevant because they are not
claiming entitlement to the DMCA safe harbor before June 2016. But Defendants’ position does
not render pre-2016 information irrelevant. Indeed, as Plaintiffs explained at length in our July
31 letter, the Grande court concluded that information from the prior seven years was relevant
and discoverable. Plaintiffs will not repeat those arguments in full here. Needless to say,
evidence related to what Defendants knew about infringement on RCN’s network and what
action they took in response to such infringement is relevant to numerous claims and defenses in
this case, including the scope of actionable infringement, Defendants’ liability for contributory
and vicarious infringement, and the extent to which Defendants’ infringement was willful (which
is directly relevant to the amount of statutory damages that may be awarded under 17 U.S.C. §
504). And even if Defendants are not claiming entitlement to the DMCA safe harbor for the time
period before June 2016, Defendants’ eligibility for the safe harbor cannot be viewed as a
snapshot in time; rather, it must be viewed in the context of Defendants’ knowledge and conduct
over time. Again, for all of these reasons, the Grande court rejected Defendants’ efforts to
impose similar time limits on this same discovery.

        In addition, Defendants yet again invoke the Supreme Court’s decision in Petrella v.
Metro-Goldwyn-Mayer, Inc., 572 U.S. 663, 671-672 (2014), but now claim that it somehow
supports the discovery limitation that Defendants advance because it issued after the Third
Circuit opinion in William A. Graham Co. v. Haughey, 568 F.3d 425, 433 (3d Cir. 2009). This
argument completely misses the point. As Plaintiffs have already explained, and Defendants
continue to ignore, the Supreme Court in Petrella (1) stated that it was not passing on whether
the discovery rule applies, (2) observed that nine Courts of Appeal have adopted the discovery
rule for copyright infringement claims, and (3) specifically cited the Third Circuit’s William A.
Graham decision. 572 U.S. 663, 670 n.4 (2014). Petrella is a laches decision that has no bearing
on the proper scope of discovery, and plainly does not upset the application of the discovery rule
here.

2
    Citing William A. Graham Co. v. Haughey, 568 F.3d 425, 433 (3d Cir. 2009).
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        Defendants then fall back on the Second Circuit’s decision in Sohm v. Scholastic Inc.,
959 F.3d 39 (2d Cir. 2020), yet there remains nothing in that decision to support Defendants’
position. Sohm does not remotely say what Defendants claim and does nothing to support their
cribbed approach to discovery. Notably, Sohm affirmed the application of the discovery rule
within the Second Circuit for determining when a claim for copyright infringement accrues. Id.
at 50-51. The holding does not address what discovery is available. Moreover, Defendants’
interpretation of Sohm would effectively eliminate the discovery rule and apply a de facto injury
rule. In fact, the only case to cite this holding of Sohm rejected Defendants’ indefensible reading
and recognized the controlling distinction between what infringements are relevant and what
effect the statutory period has on the damages available:

          Defendant misunderstands this holding when arguing that a plaintiff can recover
          only for infringements occurring in the previous three years. Such a ruling would
          replace the discovery rule adopted by the Fourth Circuit with an injury rule. If a
          plaintiff can only recover for infringements occurring in the past three years—
          rather than damages incurred in the past three years—then a claim would have to
          be discovered at the exact moment of infringement for the plaintiff to fully
          recover for that infringement. The Court rejects that this was the Supreme Court’s
          intent in announcing the Petrella retrospective relief rule.

Werner v. BN Media, LLC, No. 2:19CV610, 2020 WL 4728814, at *3 (E.D. Va. Aug. 7, 2020).3

        To be clear, Plaintiffs will offer evidence of the infringement of each of the asserted
works within the applicable statute of limitations period, and thus Sohm will ultimately be
irrelevant even on the question of available damages. Regardless, the decision does nothing to
alter this Court’s ruling that pre-2016 information is relevant here for many issues other than
damages, including “Defendants’ knowledge of infringement by RCN’s subscribers, the benefit
they derived from infringing subscribers, and their capabilities in responding.” Order at 2. The
Court was right to reject Defendants’ misguided reading of Petrella and Sohm the first time, and
should do so again.

      2. There Is No Sound Basis for Reversing This Court’s Ruling That Infringement
         Notices from All Sources Are Discoverable.

        The Court’s Order rejected RCN’s attempt to limit its interrogatory responses to
infringement notices only from certain sources. Order at 3. Again, RCN seeks reconsideration
of that ruling. RCN asserts that only the Rightscorp notices are relevant to Defendants’ actual
knowledge (or willful blindness) of infringement. This argument makes no sense for several

3
 Defendants misleadingly claim that “many district courts have come to similar conclusions” as
Sohm. But none of these cases involved a limitation on discovery, let alone the categorical
discovery barrier that Defendants advance here.
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reasons. First, pre-June 2016 notices from entities other than Rightscorp may include evidence
of infringement of the works at issue in this case. Merely because Plaintiffs have alleged that
Rightscorp has detected infringement does not mean that evidence of infringement detected by
other entities is irrelevant; to the contrary, such evidence would support and reinforce Plaintiffs’
claims. Second, Defendants misstate the law regarding the knowledge required for RCN to be
liable for contributory infringement. As Plaintiffs detailed in the motion to dismiss briefing,
actual knowledge is not required; constructive knowledge is sufficient.4 As the Grande court
concluded, notices from sources other than Rightscorp about infringement of any copyrighted
works are probative of what Defendants reasonably should have known was occurring on their
network. See Grande, 2018 WL 6624205, at *7, *9 (W.D. Tex. Dec. 18, 2018), report and
recommendation adopted, 384 F. Supp. 3d 743 (W.D. Tex. 2019) (evidence of infringement from
multiple sources “show[ed] that Grande was aware of its subscribers’ infringing conduct and failed to
take steps to stop it.”); Grande, 384 F. Supp. 3d at 758 (“Even if the Court were to accept Grande’s
arguments related to the Rightscorp notices, the summary judgment evidence shows that Grande
failed to terminate a single Customer despite the receipt of several hundred thousand other copyright
infringement notices.”). Third, notices from other sources identifying the same repeat infringers
that Rightscorp identified are probative of the reliability of the Rightscorp system. Fourth, pre-
June 2016 notices from all sources, regarding all infringement, are relevant to demonstrate the
willfulness of Defendants’ conduct, especially coupled with Defendants’ admission that they did
not have a policy in place providing for the termination of repeat infringers during this period.

        The Court should reject Defendants’ arbitrary limitation on the notices it intends to
provide in discovery and order responses to Plaintiffs’ RFPs regardless of the source or date of
the relevant evidence.

      3. Evidence of RCN’s Termination of Customer Accounts for Non-Payment and Other
         Reasons Is Discoverable.

         Defendants make no effort to refute the well-reasoned opinions cited by Plaintiffs that
hold that evidence of an ISP’s practice of terminating subscribers for reasons other than
copyright infringement are not only relevant in contributory infringement cases, but admissible
at trial.5 Instead, Defendants ask this Court to ignore the holdings in Grande and Cox and accept
Defendants’ unsupported assertion that its decision to terminate non-paying customers is
immaterial. As Plaintiffs explained, and these other courts have held, an ISP’s commitment to
vigorously policing its customers to protect its own financial well-being while turning a blind
4
  See Dkt. No. 52 at 18-19 (“‘Actual knowledge is not required; constructive knowledge of
infringement is sufficient to meet this burden.’ Broad. Music Inc. v. Hemingway’s Cafe, Inc.,
2017 WL 2804951, at *4 (D.N.J. June 28, 2017). ‘Plaintiffs need only prove that Defendants
had constructive knowledge of infringement. Contributory infringement requires that the
secondary infringer know or have reason to know of direct infringement.’ Flea World, 2006 WL
842883, at *14 (citation omitted).”).
5
    See Dkt. 80 at 4-5.
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eye to widespread infringement by those same customers is directly relevant to willfulness and
the statutory damages factors under the Copyright Act. Moreover, RCN’s termination of
customers for non-payment or other reasons is highly relevant to the extent Defendants argue
that internet access provides a critical service to customers and that subscribers’ accounts should
therefore be terminated only as a last resort; evidence of the frequency of terminations for non-
payment would undermine the credibility of that argument (and if Defendants refuse to produce
evidence of terminations for non-payment and other reasons, then they should be foreclosed from
making any arguments in this case along those lines). In addition, Defendants’ premature
arguments regarding the weight of this admissible evidence has no bearing on whether such
evidence is discoverable in the first place.

      4. Defendant Patriot Has Finally Agreed to Participate in Discovery.

        Defendants claim that in their RFP responses they committed to producing “all relevant
documents that exist and are in either RCN’s or Patriot’s possession, custody or control.” Dkt.
No. 86 at 5 (emphasis added). In fact, the RFP responses are devoid of any such clarity, and
state the opposite—that Defendants do not agree to produce documents in Patriot’s possession
responsive to discovery requests aimed specifically at Patriot.6 Defendants’ statements during
the meet and confer process, including its continued refusal to produce documents responsive to
requests directed specifically at Patriot, did not resolve the parties’ dispute.

        To the extent that Defendants’ August 14 letter to the Court finally acknowledges that
they will produce relevant, responsive documents from Patriot in response to Plaintiffs’ RFPs, it
appears that intervention by the Court may not be necessary. Based on this representation,
Plaintiffs will review the forthcoming productions purporting to respond to these RFPs and
address any deficiencies at that time. Plaintiffs reserve all rights with respect to Patriot’s
responses to discovery.

      5. Ownership, Valuation, and Corporate Structure Documents Are Plainly Relevant.

        RFP Nos. 88-91 seek information on the valuation of RCN and the transactions by which
RCN was acquired over time. As Plaintiffs explained, this information is probative of the
economic incentives of, and benefits realized by, Defendants’ decisions regarding how to address
infringing subscribers. In fact, Defendants’ admission that they terminated no subscribers before
June 2016 (and then none throughout all of 2017) tend to prove Plaintiffs’ point. Discovery in
Grande revealed that Grande abandoned a termination policy following the acquisition by Abry
Partners. Plaintiffs are entitled to explore the same issues here, including the extent to which the

6
  Dkt. No. 80-1 at 4 (“Except where otherwise noted, the use of ‘Defendants’ in the following
responses and objections means at least one of RCN and Patriot. For instance, any statement that
“Defendants” will produce responsive documents is not an admission that such documents exist
and are in the possession, custody, or control of both RCN and Patriot.”); see responses to RFPs
94-96.
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refusal to terminate repeat infringers was a central strategy in Defendants’ efforts in increase the
value of their business by retaining subscription fees from these infringers. Other Defendant
ISPs, including Grande, have produced comparable information in analogous cases. This
evidence is plainly relevant to the factors7 to be considered in assessing statutory damages and
Defendants make no meaningful effort to demonstrate otherwise.

                                         *       *       *

       Plaintiffs are available for a telephonic conference with the Court and Defendants at the
Court’s convenience. Thank you in advance for your consideration and attention to this matter.

                                               Respectfully yours,

                              MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP

                                               s/ Thomas R. Curtin

                                               THOMAS R. CURTIN

cc:       All counsel (via ECF and e-mail)




7
  See e.g. Nat'l Football League v. PrimeTime 24 Joint Venture, 131 F. Supp. 2d 458, 473–74
(S.D.N.Y. 2001) (“In awarding statutory damages, the courts may consider, among other factors,
the expenses saved and the profits earned by the defendant, the revenues lost by the plaintiff, the
deterrent effect on the defendant and third parties, the defendant's cooperation in providing
evidence concerning the value of the infringing material, and the conduct and attitude of the
parties.”).
